           Case 1:20-cv-00152-JAW Document 14-2 Filed 06/08/20 Page 1 of 6                                                     PageID #: 105
                                                                                                                                 Exhibit B
From: Daina J. Nathanson <DNathanson@dwmlaw.com>
Sent: Friday, April 17, 2020 3:11 PM
To: 'jtemple13@yahoo.com' <jtemple13@yahoo.com>; 'jtemple@bmtrailer.com' <jtemple@bmtrailer.com>
Cc: 'info@bmtrailer.com' <info@bmtrailer.com>; 'nsnyder@bmtrailer.com' <nsnyder@bmtrailer.com>; 'Don Embrey'
<DEmbrey@alcomusa.com>
Subject: Violation by James Temple of Alcom Non-Competition, Non-Solicitation and Non-Use/Non-Disclosure of
Confidential Information

Dear Messrs. Temple and Snyder,

Attached please find a letter sent on behalf of Alcom, LLC regarding Mr. Temple’s violation of various non-
competition, non-solicitation and non-use and non-disclosure of confidential information covenants.

Regards,

Daina J. Nathanson


Daina J. Nathanson
Attorney
207.772.1941 ext. 508
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84 Marginal Way, Suite 600, Portland, ME 04101-2480
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                                                        Daina J. Nathanson           207.253.0508
                                                        Admitted in ME, NH           dnathanson@dwmlaw.com

                                                                                     84 Marginal Way, Suite 600
                                                                                     Portland, Maine 04101-2480
                                                                                     207.772.1941 Main
                                                                                     207.772.3627 Fax

April 17, 2020

Sent via email and U.S. Mail

 jtemple13@yahoo.com
James Temple
121 Kendra Drive
Liberty Hill, TX 78642

jtemple@bmtrailer.com
James Temple
Director of Sales and Marketing
Black Mountain Trailer, LLC
6109 Dean Martin Drive
Las Vegas, NV 89118


            RE:     Violation of Non-Competition, Non-Solicitation and Non-
                    Use of Confidential Information Provisions

Dear Mr. Temple:

This firm represents Alcom, LLC (“Alcom“) in connection with its various business and
employment matters. We have no information as to whether or not you are represented by an
attorney. In the event that you have engaged counsel, kindly immediately forward this to your
counsel’s attention.

It has recently come to our attention that you are currently engaging in business activities that are
competitive with Alcom, in direct violation of your various ongoing covenants and restrictions
set forth in your Employment Agreement with Alcom dated April 14, 2015 (the “Employment
Agreement”). Such business activities also violate the non-solicitation and non-disclosure
covenants of the Employment Agreement, as well as several provisions of the Alcom Company
Policy Manual (the “Policy Manual”) which you agreed to abide by as a condition of your
employment with Alcom.

The Employment Agreement plainly states in Articles II the following (emphasis added):

                  “II. Restrictive Covenants. In order to preserve the confidentiality of the
                  Confidential Information, to prevent the theft or misuse of the Confidential
                  Information, to protect the Company's customer relationships, with both its
                  potential and existing customers, to protect its customer goodwill, and to protect
                  the Company from improper or unfair competition, I agree that during my
                  employment and for a period of twenty-four (24) months from the date my

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                 employment terminates, for any reason, whether such termination is voluntary
                 or involuntary, I will not directly or indirectly:

                         a. Non-Competition. Participate in the ownership or control of, act as
             an employee, agent, or contractor of, or directly or indirectly engage in or render
             services to or on behalf of any person or entity that conducts business in North
             America and is competitive with the Company.

               Notwithstanding anything to the contrary contained in this Agreement, the
             Company agrees that I may own up to two percent (2%) of the outstanding shares of
             the capital stock of a company whose securities are registered under Section 12 of
             the Securities Exchange Act of 1932.
                          b. Non-solicitation of Employees. Employ, offer to employ, solicit or
             recruit any employee of the company.

                          c. Non-solicitation of Customers. Solicit, attempt to solicit, or accept
             work of any kind, either on my own or as an employee, employer, consultant, agent,
             principal, partner, shareholder, or in any other individual or representative capacity,
             from any customer or customer-referral source for the Company with whom I had
             contact during my employment. For the purpose of this Section II(c), "customer"
             shall mean any person, business, or entity (i) to whom the Company has provided
             products or services within the one (1)-year period preceding the termination of my
             employment, or (ii) from whom I know the Company is actively soliciting business
             with the one (1)-year period preceding the termination of my Employment.”

The Policy Manual plainly states the following (emphasis added):

       “Non-Disclosure

       The protection of confidential information and trade secrets are vital to the interests and
       the success of ALCOM. Such confidential information includes but is not limited to, the
       following examples:

       ·         Employee lists
       ·         Employee information
       ·         Compensation data
       ·         Customer lists
       ·         Customer information
       ·         Financial information
       ·         Contracts detailing fees and services
       ·         Business and or marketing strategies
       ·         New materials research
       ·         Pending projects and proposals
       ·         Proprietary production processes
       ·         Research and development strategies
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         ·       Technological data and/or prototypes

         Any employee who improperly uses or discloses trade secrets or confidential business
         information will be subject to disciplinary action, up to and including termination of
         employment and legal action, even if he or she does not actually benefit from the
         disclosed information. This obligation continues to survive after employees terminate
         their employment relationship with ALCOM. Employees shall return all confidential
         information in their possession upon termination of their employment and shall not keep
         any copies, including electronic copies of any such information. Terminated or former
         employees may not solicit ALCOM, LLC customers for their own benefit, nor may
         they solicit ALCOM, LLC employees.”


Contrary to your promises and obligations under the Employment Agreement, you are now
serving, and have served since April 9, 2020 according to your personal Facebook page, as the
Director of Sales and Marketing of Black Mountain Trailer LLC (“Black Mountain“). As the
seller of various horse trailers and related products, Black Mountain is clearly in competition
with Alcom. As such, your employment with Black Mountain commencing a mere two weeks
after the expiration of your employment with Alcom on March 13, 2020, and your job
responsibilities pertaining to marketing and selling of horse trailers and related products, clearly
violate the non-competition provisions of the Employment Agreement.

In addition, numerous customers and clients of Alcom have informed Alcom that you have
solicited them via text messages, email communications and telephone calls in a direct and
blatant attempt to divert business from Alcom to Black Mountain. Such actions violate the non-
solicitation covenants of the Employment Agreement and the Policy Manual. Likewise, your use
of Alcom’s proprietary and confidential customer contact information violates the restrictions
prohibiting the disclosure and use of confidential information set forth in both the Employment
Agreement and the Policy Manual.

THEREFORE, BE ADVISED THAT ALCOM HEREBY DEMANDS THAT YOU
IMMEDIATELY CEASE AND DESIST ALL OF THE ABOVE-REFERENCED
ACTIVITIES OR ANY OTHER CONDUCT PROHIBITED BY THE EMPLOYMENT
AGREEMENT AND THE POLICY MANUAL. IN THE EVENT THAT YOU IGNORE
THIS DEMAND AND WARNING, YOU DO SO AT YOUR OWN RISK.

Furthermore, Alcom demands that the following steps be taken immediately:

   (A)       Your employment and any other similar affiliation (as a consultant, advisor, or
             otherwise) with Black Mountain must end.

   (B)       You must provide us with a list of Alcom customers and clients that you or other
             representatives of Black Mountain have contacted.

   (C)       You must return any and all of Alcom’s confidential or proprietary
             information, in whatever form or format such is in, that is your possession or
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           control or the possession or control of representatives of Black Mountain,
           including, without limitation, customer lists, customer contact information,
           pricing and product lists, and all other documents or information, whether in
           paper, electronic or any other formats, that you obtained during your
           employment with Alcom.


Please provide us, by the close of business on Thursday, April 30, 2020, eastern standard
time, with written assurances that (i) you and all representatives of Black Mountain have
ceased use of Alcom’s confidential information, (ii) you and representatives of Black
Mountain will not use or disclose such confidential information, (iii) your employment
and any other affiliation with Black Mountain in any capacity that violates the
Employment Agreement and/or the Policy Manual has ceased and will not resume, and
(iv) you have ceased engaging in, and will not resume engaging in, competitive activities
which violate the terms of the Employment Agreement and/or the Policy Manual.
Please also provide us, by close of business on April 30, 2020, with a list of Alcom
clients and customers contacted by you or Black Mountain representatives, and all of
Alcom’s confidential and proprietary information as specified in the preceding paragraph
above.

If I do not receive adequate assurances from you that the above steps have been taken,
Alcom will have no choice but to file a lawsuit and pursue Alcom’s rights and remedies
including, without limitation, an immediate restraining order and damages.

Alcom has worked very hard over the last fourteen years to develop its relationships with
customers and to attract hard-working sales employees that are loyal to the company who
can cultivate these relationships. Please be advised that Alcom takes seriously the
conduct in which you are engaged and fully intends to take all steps necessary to protect
its business interests.

Alcom reserves all rights with respect to the foregoing breaches and any rights it may
have under unfair trade practices laws and other laws. Furthermore, this letter also in no
way limits Alcom’s legal rights to exercise all its remedies, and all such rights and
remedies are hereby expressly reserved and preserved, including, without limitation, the
right to commence litigation seeking injunctive relief and monetary damages, and any
and all other remedies or damages under the Employment Agreement, the Policy Manual,
and applicable law.

       Finally, we note that Section IV of the Employment Agreement provides as
follows (emphasis added):

    “IV. Duty to Disclose Agreement and to Report New Employer. I acknowledge that the
    Company has a legitimate business purpose in the protection of its Confidential Information,
    customer relationships, and customer goodwill. Accordingly, I agree that for a period of
    twenty-four (24) months following my termination of employment, I will promptly and
    forthrightly provide any new employer with a copy of this Agreement and notify them of my
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      obligations contained here. I also will provide the Company with the identity of my new
      employer(s) and a description of the services being provided by me in sufficient detail to allow
      the Company to reasonably determine whether such activities fall within the scope of activities
      prohibited by the provisions of this Agreement.”

Since you were obligated under the Employment Agreement to fully disclose to Black
Mountain your obligations to Alcom, we are sending a copy of this letter to Black Mountain
to alert the company of Alcom’s intention to exercise all of its available rights and remedies
against you, should that be necessary. We hope that such additional action will not be
necessary.


Very truly yours,




Daina J. Nathanson

cc:      info@bmtrailer.com
         Black Mountain Trailer, LLC
         6109 Dean Martin Drive
         Las Vegas, NV 89118

         nsnyder@bmtrailer.com
         Nathan Snyder,
         Manager and Registered Agent
         Black Mountain Trailer, LLC
         890 Harbor Ave
         Henderson, NV 89002
